Case 1:15-cv-00794-LMB-JFA Document 12 Filed 07/09/15 Page 1 of 2 PageID# 225



                        UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                               Alexandria Division


JIVE COMMUNICATIONS, INC.,                  )
                                            )      CASE NO. 1:15-cv-794-LMB-JFA
  Plaintiff                                 )
                                            )
       v.                                   )
                                            )
COMMUNICLIQUE, INC., and                    )
                                            )
DOMAINS BY PROXY, LLC,                      )
                                            )
  Defendants                                )


      NOTICE OF DISMISSAL AS TO DEFENDANT DOMANS BY PROXY, LLC


       Plaintiff Jive Communications, Inc. (“Jive”), pursuant to Fed. R. Civ. P. 41 and through

its undersigned counsel, hereby gives notice of its dismissal of this action as to Defendant

Domains By Proxy, LLC.

       Jive is continuing this action as against the remaining defendant, Communiclique, Inc.




                                                 Respectfully submitted,

                                                 /s/ Elita C. Amato
                                                 ELITA C. AMATO, ESQ.
                                                 (VA. Bar No. 75827)
                                                 1600 Wilson Blvd., Suite 205
                                                 Arlington, Virginia 22209
                                                 Tel.: (703) 522-5900
                                                 Fax: (703) 876-8957
                                                 Amato.law@comcast.com
                                                 Attorney for Plaintiff Jive Communications
Case 1:15-cv-00794-LMB-JFA Document 12 Filed 07/09/15 Page 2 of 2 PageID# 226



By: /s/ Andrew Grosso
Andrew Grosso (PHV)
Andrew Grosso & Associates
1101 Thirtieth Street NW
Suite 300
Washington, D.C. 20007
Tel.: (202) 298-6500
Attorney for Plaintiff Jive Communications




                                CERTIFICATE OF SERVICE


       I hereby certify that on this 9th day of July, 2015, the foregoing was served by the Court’s
Electronic Filing system to all counsel of record.




                                             By: /s/ Elita C. Amato
                                             ELITA AMATO, ESQ.
                                             (VA. Bar NO. 75827)
                                             1600 Wilson Blvd., Suite 205
                                             Arlington, Virginia 22209
                                             Telephone (703) 522-5900
                                             Facsimile: (703)875-8957
                                             Email: Amato.law@comcast.net
